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                                       IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF MINNESOTA

                                                   CIVIL MOTION HEARING
Ronaldo Ligons, et al.,                                         )                    COURT MINUTES
                                                                )                   BEFORE: Patrick J. Schiltz
                                               Plaintiffs,      )                      U.S. District Judge
                                                                )
                 v.                                             )    Case No:             15-CV-2210 (PJS/BRT)
                                                                )    Date:                July 27, 2018
Minnesota Department of Corrections, et al.,                    )    Deputy:              C. Glover
                                                                )    Court Reporter:      Debra Beauvais
                                               Defendants.      )    Courthouse:          Minneapolis
                                                                )    Courtroom:           14E
                                                                )    Time Commenced: 8:59 a.m.
                                                                     Time Concluded:      10:28 a.m.
                                                                     Sealed Hearing Time:
                                                                     Time in Court:       1 Hour & 29 Minutes

Hearing on:Defendants’ Motion for Summary Judgment [Docket No. 219],
Plaintiffs’ Motion to Certify Class [Docket No. 238]
APPEARANCES:
              Plaintiffs:              Andrew Mohring, Michael Ciresi, Esther Agbaje, Peter Nickitas, Carl Erlinder
              Defendants:              Kathryn Fodness, Kelly Kemp

PROCEEDINGS:
              9 Plaintiff’s Witnesses:
              9 Plaintiff’ Exhibits:
              9 Defendant’s Witnesses:
              9 Defendant’s Exhibits:

**IT IS ORDERED:

              9 Submitted         9 Sustained            9 Overruled
              9 Brief time set:
              : Motions taken under advisement, written order forthcoming.

                                                                                                                  s/C. Glover
                                                                                                              Courtroom Deputy




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